   Case: 1:18-cv-05369 Document #: 9-1 Filed: 08/28/18 Page 1 of 1 PageID #:296

 Morgan Lewis

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  14 August 2018

 BY REGISTERED MAIL

 Cambium Networks, Ltd
 Unit B2 Linhay Business Park
 Eastern Road
 Ashburton, Newton Abbot
 Devon TQ13 7UP

 Dear Sirs

 Re:          Ubiquiti Networks, Inc -v- Cambium Networks, Inc; Cambium Networks, Ltd;
              Blip Networks, LLC; Winncom Technologies, Inc; Sakid Ahmed; and Dmitry
              Moiseev
              Case: 1:18-CV-05369

 By way of service, pursuant to Article 10 of the Hague Service Convention, please see the enclosed
 documents in relation to the abovementioned proceedings filed in the United States District Court
 for the Northern District of Illinois, Eastern Division:

       1. Complaint filed 7 August 2018, with Exhibits A to F;

       2. Notice of Mandatory Initial Discovery filed 8 August 2018;

       3.     Standing Order Regarding Mandatory Initial Discovery Pilot Project;

       4.     Mandatory Initial Discovery Pilot Project Checklist; and

       5. Summons dated 10 August 2018.

 Also enclosed is the Model Form Summary and Warning annexed to the Hague Service Convention.

 Yours faithfully,

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 Morgan, Lewis & Bockius UK LLP

 Ends.




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 5-10 St. Paul's Churchyard, London EC4M 8AL and is a law firm authorised and regulated by the Solicitors Regulation Authority, whose rules can be accessed at rules.sra.
 org.uk. Our SRA authorisation number is 615176. We use the word "partner" to refer to a member of the LIP, A list of the members of Morgan, Lewis & Bockius UK LLP is
 available for inspection at the above address. Further information about Morgan Lewis can be found on www.morganlewis.com.
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